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                               EXHIBIT 1
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-CV-02285-NYW


  CENTER FOR LEGAL ADVOCACY, d/b/a
  DISABILITY LAW COLORADO,

           Plaintiff,
  v.


  REGGIE BICHA,
  in his official capacity as Executive Director
  of the Colorado Department of Human Services, and

  RONALD B. HALE,
  in his official capacity as Superintendent
  of the Colorado Mental Health Institute at Pueblo,

           Defendants.




                        DECLARATION OF JENNIFER L. PURRINGTON


        I, Jennifer L. Purrington, make the following declaration under penalty of perjury
 pursuant to 28 U.S.C. § 1746.

       1. I am an attorney for the Denver office of The Center for Legal Advocacy d/b/a Disability
          Law Colorado (“DLC”) and formerly known as The Legal Center for People with
          Disabilities and Older People. I have worked at DLC since August of 2012, and I was
          admitted to the Colorado State Bar in October of 2012 (Colorado Attorney Registration
          #44901). I have personal knowledge of, and am competent to testify concerning, the
          matters addressed in this declaration.

       2. The parties filed the operative Amended and Restated Settlement Agreement (the
          “Settlement Agreement”) with the Court on July 28, 2016. Dkt. 78-1. Under the
          Settlement Agreement, the Colorado Department of Human Services (the “Department”),
          which includes and oversees the Colorado Mental Health Institute at Pueblo (“CMHIP”),
          has been responsible for making monthly monitoring reports to DLC. The Department had
          similar reporting obligations under the parties’ prior settlement agreement in this action
          and first started reporting in August of 2012. Each report is due on the seventh day of each
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       month following the reporting month, or on the next business day if the seventh day of the
       month fell on a weekend or holiday.

    3. I have personally monitored and analyzed all monthly reports DLC has received from the
       Department since approximately the Fall of 2012.

    4. The Settlement Agreement specifies the following timeframes:

           a. The Department shall Offer Admission to Pretrial Detainees to the Hospital for
              Restorative Treatment or Inpatient Competency Evaluation no later than 28 days
              after the Pretrial Detainee is Ready for Admission, and shall maintain a Monthly
              Average of 24 days or less for both types of Offers of Admission. Compliance with
              this measure shall be calculated based on the number of Days Waiting for each
              Pretrial Detainee.

           b. The Department shall complete all Out-Patient Competency Evaluations of a
              Pretrial Detainee no later than 30 days after the Hospital’s receipt of a Court Order
              directing the evaluation and receipt of Collateral Materials. This timeframe
              requirement shall apply to the following counties: Boulder, Arapahoe, Douglas,
              Pueblo, Denver, Broomfield, Larimer, Weld, Adams, Jefferson, Alamos, El Paso,
              Fremont, Custer, Huerfano, Otero, Teller, Elbert and Crowley. Counties not
              specifically identified, are counties that use the “hold and wait” court ordered
              process. Counties utilizing the Hold and Wait Evaluation process will be offered a
              meeting date within 30 days of the Hospital’s receipt of the Court Order and
              Collateral Materials, and the evaluation will be completed within 30 days of the
              meeting.

    5. The monthly monitoring report includes several lists.

           a. Report A lists all pretrial detainees in Colorado state court actions for whom the
              court has found that the detainee is incompetent to proceed and must be transported
              to CMHIP or the Department’s facility in Arapahoe County for restorative
              treatment. The report details the detainee, his/her charges and case information, the
              date of the court order, when the Department received the order plus collateral
              materials, when the Department deems the detainee ready for admission, the
              Settlement Agreement’s deadline to admit the detainee, the date Defendants offer
              admission, the ultimate admission date, and the number of days waiting.

           b. Report B is the list of detainees whose competency to proceed has been raised and
              are awaiting evaluation by the Department at CMHIP or the Arapahoe County
              facility, termed “inpatient.” This information tracks the data inputs on Report A.

           c. Report C is the list of detainees whose competency to proceed has been raised and
              are awaiting evaluation by the Department in the jail where the detainee is located,
              termed “outpatient.” The report details the detainee, his/her charges and case
              information, the date of the court order, when the Department received the order

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               plus collateral materials, when the Department deems the detainee ready for
               evaluation, the date the evaluator signs the report, and the number of days waiting.

           d. Report D is a list of Individual Special Circumstances, when they exist, as defined
              in the Settlement Agreement.

    6. I review the monthly reports and calculate from the data therein, whether Defendants are
       complying with the timeframes agreed to in the Settlement Agreement for inpatient
       restorations (using Report A), inpatient competency evaluations (using Report B), and
       outpatient evaluations (using Report C).

    7. Less than a year after the parties entered the Settlement Agreement, Defendants failed to
       meet the timeframes set forth in the Settlement Agreement for inpatient restorations and
       inpatient competency evaluations. As a result, on June 22, 2017, Defendants invoked
       Departmental Special Circumstances under the Settlement Agreement. A true and correct
       copy of the Notice of Invocation of Departmental Special Circumstances dated June 22,
       2017 that DLC received from the State is attached hereto as Exhibit A. In the June 22,
       2017 Notice of Invocation of Departmental Special Circumstances, Defendants claimed
       that they could not comply with the Settlement Agreement’s timeframes due to “an
       unanticipated spike in court-ordered referrals for inpatient competency evaluation and
       restoration treatment services.”

    8. On December 22, 2017—the day the Department’s six month suspension period was set to
       expire—the Department sent DLC another notice of invocation of Departmental Special
       Circumstances. A true and correct copy of the Notice of Invocation of Departmental
       Special Circumstances dated December 22, 2017 that DLC received from the State is
       attached hereto as Exhibit B. In that notice, the Department claimed Departmental Special
       Circumstances due to an “unabated” and “sustained increase” in court orders for evaluation
       and restoration as the reason why the Department remained unable to comply with the
       evaluation and restoration timeframes set forth in the Settlement Agreement.

    9. Defendants are out of compliance with the timeframes set forth in the Agreement. In his
       September 2017 report, the Independent Expert charged with overseeing Defendants’
       compliance with the Settlement Agreement concluded that “currently the State is clearly
       failing to meet the deadlines contained in the Settlement Agreement.” A true and correct
       copy of the September 4, 2017 Report of Independent Expert, Joel A. Dvoskin, Ph.D.,
       ABPP (Forensic) that Plaintiff received from the State is attached hereto as Exhibit C.

    10. Since June 2017, Defendants have failed to admit all pretrial detainees for restorative
        treatment with 28 days of their ready for admission date and failed to maintain a monthly
        average of 24 days. The monthly reports are now voluminous and exceed 100 pages each.
        Instead of attaching a year’s worth of these reports, I have attached a summary of those
        monthly reports in the below chart. I can provide the Court with a copy of all of these
        monthly reports (after redacting personal information) upon request.

    11. The below table summarizes the data in the monthly reports (Report A) that DLC received

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       from the State between June 2017 and May 2018 related to inpatient restoration. The first
       column is the number of detainees on that monthly report who had been waiting for
       inpatient restoration services in excess of 28 days, the Settlement Agreement’s limit. The
       next column is the average (mean) wait time of all detainees who were transported that
       month for inpatient restoration or otherwise exited the waiting list (because, for example,
       the prosecution dropped the charges and the detainee was released). The final column is
       the longest wait time of any pretrial detainee waiting for inpatient restoration services on
       that monthly report.

                               Detainees on
                                               Average               Longest Wait
                    Month      Wait List, 28+
                                              Wait Time                 Time
                                   Days
                   June 2017          3         23.93                       29
                   July 2017         19         28.12                       45
                  August 2017        87         37.35                       56
                September 2017      104         47.26                       68
                 October 2017       120         58.17                       88
                November 2017       144         66.46                       87
                December 2017       170         67.14                      129
                 January 2018       177         72.84                      129
                 February 2018      193         74.51                      114
                  March 2018        221         90.24                      133
                   April 2018       213         87.34                      136
                   May 2018         206         93.98                      142

    12. It is estimated that 25-30% of pretrial detainees listed in the Department’s reports are
        individuals being held in jail as a result of an arrest on a petty, misdemeanor, non-violent,
        or drug offense. Tragically, the length of their detention while waiting for an evaluation
        or treatment exceeds what jail sentence they likely would have received if they had pled
        guilty on the day they were arrested. Many of these pretrial detainees are seriously
        mentally ill and in danger of harming themselves or others, and are victimized by other
        detainees as they wait for a humane environment to be evaluated and treated.

    13. In 2015, Defendants did not comply with the timeframes in the parties’ previous settlement
        agreement for ten of twelve months. In 2016, Defendants were out of compliance for five
        out of twelve months. In 2017, Defendants were out of compliance for the last seven
        months of the year. It appears that Defendants will not come back into compliance until,
        at the earliest, July 2019. The result will be a five-year period in which Defendants have
        spent more time out of compliance than in compliance.

    14. Using another monthly report sent by Defendants, I created the following table, which
        shows the monthly totals of new inpatient evaluations and restorations between June 2016
        and May 2018. For “inpatient,” I included evaluations and restorations which occurred at
        CMHIP or CMHIP’s facility in Arapahoe County called RISE, which is how the parties
        have defined inpatient.


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              Fiscal Year       In Patient Competency       In Patient Restorations
                                     Evaluations
               June 2016                   25                          45
               July 2016                   21                          47
              August 2016                  32                          46
            September 2016                 25                          53
             October 2016                  28                          43
            November 2016                  23                          72
            December 2016                  24                          48
             January 2017                  27                          58
             February 2017                 28                          58
              March 2017                   27                          54
               April 2017                  29                          75
               May 2017                    26                          84
               June 2017                   37                          73
               July 2017                   22                          66
              August 2017                  31                          76
            September 2017                 30                          66
             October 2017                  25                          66
            November 2017                  19                          76
            December 2017                  14                          68
             January 2018                  19                          77
             February 2018                 17                          78
              March 2018                   30                          65
               April 2018                   9                          71

    15. I created the following table based on information Defendants provided to DLC in previous
        court filings and in our meetings during the last year. This table shows the number of
        referrals for in-patient evaluation and restoration for each fiscal year from 2005 through
        2017 and the percentage of change on an annual basis.




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    Fiscal Year          In Patient          % Change             In Patient           % Change
                        Competency                               Restorations
                        Evaluations
      2005-06               115                     -                 167                    -
      2006-07               144                  25.2%                224                 34.1%
      2007-08               184                  27.8%                219                 -2.2%
      2008-09               238                  29.3%                170                -22.4%
      2009-10               275                   15.5                212                 24.7%
      2010-11               276                   0.4%                213                  0.5%
      2011-12               287                   3.9%                268                 25.8%
      2012-13               355                  23.7%                274                  2.2%
      2013-14               378                   6.4%                342                 24.8%
      2014-15               415                   9.7%                462                 35.1%
      2015-16               326                 -21.4%                550                 19.0%
      2016-17               327                   0.3%                711                 29.3%

    16. At DLC’s suggestion, the State sent letters to judges and attorneys involved in 15 cases
        since April 2018. In the letters, the State admits that it is holding pretrial detainees in jail
        for months whom it concedes would be better served in the community. Sadly, the effort
        has not been as successful as it could have been because the State has failed to partner with
        community mental health centers—for example, the letters fail to provide a judge any
        direction on what resources exist in the court’s community if the detainee were to be
        released. True and correct copies of these letters are attached hereto as Exhibit D.



 Signed: _____________________                                          Date: __6/13/18________
        Jennifer L. Purrington




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                        EXHIBIT A
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                      Nancy VanDeMark, Ph.D., Director, Office of Behavioral Health



June 22, 2017

Disability Law Colorado
Attention: Mark Ivandick
Attention: Jennifer Purrington
455 Sherman Street #130
Denver, CO 80203

RE: Center for Legal Advocacy d/b/a The Legal Center for People with Disabilities and Older People v.
Reggie Bicha, in his official capacity as Executive Director of the Colorado Department of Human Services
and Ron Hale, in his official capacity as Superintendent of the Colorado Mental Health Institute at Pueblo,
Case No. 11cv-02285-BNB (D. Col.)

SUBJECT: Notice of Invocation of Departmental Special Circumstances

Dear Mr. Ivandick and Ms. Purrington:

This correspondence serves as the Colorado Department of Human Services’ (CDHS) Notice of Invocation
of Departmental Special Circumstances (DSC) in the above referenced case. DSC is being invoked pursuant
to paragraph 6(c) of the Amended and Restated Settlement Agreement (Agreement).

Basis for Invoking Departmental Special Circumstances

CDHS may invoke DSC when “circumstances beyond the control of the Department impact the
Department’s ability to comply with the timeframes” set forth in the Agreement. This could mean “an
unanticipated spike in referrals, a national or statewide disaster impacting admissions decisions system
wide,” or other “unique and often unforeseen” events.

CDHS is in compliance with all timeframes set forth in the Agreement. However, circumstances beyond
the control of the Department are expected to impact the Department’s ability to remain in compliance.
Specifically, CDHS has experienced an unanticipated spike in court-ordered referrals for inpatient
competency evaluation and restoration treatment services. Accordingly, CDHS is invoking DSC.

On March 31, 2017, First Assistant Attorney General Tanja Wheeler and Assistant Attorney General
Lauren Peach contacted Jennifer Purrington by telephone as a courtesy to let Disability Law Colorado
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 (DLC) know that the Colorado Mental Health Institute at Pueblo was under tremendous pressure related
 to the volume of court-ordered referrals for competency evaluation and restoration treatment services.
 At that time, CMHIP was closely reviewing the data and various pressure points to assess what was
 causing the potential problem. Ms. Purrington was informed that based on a cursory review of the daily
 data, it appeared the volume of orders for restoration treatment was outpacing orders for competency
 evaluations, potentially causing a backlog due to disparate length of stay related to each type of order. At
 the time, the data appeared to show a steady increase in orders, rather than a spike.

 On May 8, 2017, the parties and independent consultant, Dr. Joel Dvoskin, met for a quarterly meeting, as
 required by the Agreement. At that time, CMHIP again raised the issue of an increase in court ordered
 referrals for competency evaluation and restoration treatment services. Additionally, Dr. Patrick Fox
 reviewed data (presented in the chart included here as Attachment A) evidencing the same upward trend
 observed in March.

 Neither the upward trend in March or May was deemed sufficient by CDHS to warrant invoking DSC.
 However, between May and June 2017, CDHS has experienced an unanticipated spike in court ordered
 referrals, supporting invocation of DSC at this time.

 CDHS tracks the number of court ordered referrals in the regular course of business, in order to anticipate
 CMHIP’s future needs. This tracking informs decision-making regarding both regular and supplemental
 budget requests to the Joint Budget Committee and overall staffing allocations throughout CMHIP. In
 order to best plan for the future, CDHS projects growth as far as six fiscal years into the future.

 For fiscal year 2016-2017, CMHIP was projected to receive 318 orders for inpatient competency
 evaluations and 541 orders for inpatient restoration treatment services. These projections are based on
 the rate of court referrals reported so far in the current fiscal year. See Attachment A.

 In addition to reviewing data by fiscal year, CMHIP also projects the number of anticipated court-ordered
 referrals by month. During June 2016, CMHIP received 25 court-ordered referrals for competency
 evaluations (data is included here in Attachment B). These numbers informed the projections for the
 same month in 2017. CMHIP projected receiving 33 court ordered referrals for competency evaluations in
 June 2017. Similarly, CMHIP projected 53 referrals for inpatient restoration treatment in June 2017. See
 Attachment B.

 Based on these projections, CMHIP anticipated receiving 86 total court ordered referrals for inpatient
 competency evaluations and restoration treatment, in June 2017. On June 14, 2017 CMHIP recalculated
 its projections based on the number of orders received, and is now projected to receive 103 referrals in
 June 2017. See Attachment B. This number also reflects an increase in the projected referrals specifically
 attributable to orders for inpatient competency evaluations. In May 2017 CMHIP received 26 referrals for
 inpatient competency evaluations, but for June 2017, is now on pace to receive 41. See Attachment B.



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 Both the increase in projected combined inpatient referrals from 86 to 103, and the increase in inpatient
 competency referrals from 26 in May to a projected 41 in June, represent an unanticipated spike in
 referrals.

 A steady increase in the number of orders for inpatient restoration treatment is further exacerbating the
 pressure on CMHIP to meet the Agreement timeframes. Completing restoration treatment takes
 significantly longer than completing a competency evaluation. CMHIP received 450 court ordered
 referrals for inpatient restoration treatment in fiscal year 2015-2016; as of June 14, 2017, 487 orders have
 already been received.

 The bottom line is this: CMHIP has experienced an unanticipated spike in referrals for inpatient
 competency evaluation and restoration treatment services, at the same time that it is experiencing a
 decrease in the number of discharges, resulting in fewer beds available to meet the demand.

 Each of these factors is a circumstance beyond the Department’s control, and is the basis for CDHS’s
 invocation of Departmental Special Circumstances.

 Plan to Remedy Departmental Special Circumstances

 The Department has identified long and short-term options to keep pace with the referrals for inpatient
 competency evaluation and restoration treatment and the mechanisms available for funding these
 options. CDHS is continuously reviewing all options, including funding, and will approach the Joint Budget
 Committee in September or December if necessary.

 The most innovative of the near term options being explored includes contracts with private hospitals to
 complete restoration treatment for low risk patients or for the transfer of civil patients to increase
 inpatient capacity at both state mental health institutes, expansion of jail-based restoration treatment,
 and further streamlining competency evaluation processes at CMHIP. The Department has discussed the
 potential for contracts with four Colorado hospitals to enable the Department to rapidly expand capacity.
 The Department met with David Morris, CEO of Denver Springs Hospital, a 96-bed psychiatric hospital
 slated to open in August 2017, to explore the possibility of utilizing one of their inpatient units to meet
 the Department’s current need. The Department has also contacted the CEOs of Cedar Springs,
 Centennial Peaks, and Highlands Behavioral Health to explore the immediate use of available bed capacity
 at each of these facilities. CDHS is also considering approaching several other public and private hospitals
 regarding potential partnerships.

 The Department will also continue to work collaboratively with state Judicial to ensure that inpatient
 competency evaluation orders follow the current requirements of 16-8.5-105, C.R.S. This includes efforts
 such as educating individual courts, defense attorneys, and prosecutors on the new criteria for admission
 to CMHIP, for inpatient competency evaluations. CMHIP has seen an increase in the amount of pretrial
 detainees ordered for admission who have low level charges. When this happens, Court Services staff
 contact the clerk asking if the evaluation can take place in the community versus CMHIP, to ensure

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 inpatient beds are being utilized for the most ill individuals and that services are being provided in the
 least restrictive setting.

 Additionally, in light of conversations between CDHS and State Judicial, ongoing training is provided to
 clerks and new judges regarding the statutory amendments; we have proposed to State Judicial that this
 topic be discussed again during the upcoming fall Judicial Conference. Related, State Judicial and CMHIP
 Court Services staff will be conducting joint training for clerks around the state, focusing in part on court
 orders for competency evaluations.

 Projected Timeframe for Resolution

 As stated in Paragraph 6(c), DSC commences on June 22, 2017, contemporaneously with the transmission
 of this Notice of Departmental Special Circumstances. As a result, the timeframe requirements of the
 Agreement are automatically suspended until December 22, 2017. However, CDHS may terminate DSC
 prior to that date, upon written notice to DLC of its intent to do the same.

 Thank you for your attention to this matter. CDHS looks forward to conferring with you and Dr. Dvoskin to
 review the reasons for invocation of DSC and resolve questions you may have about the circumstances
 that triggered this Notice.

 Sincerely,



 Dr. Nancy VanDeMark
 Director, Office of Behavioral Health

 cc:     Dr. Joel Dvoskin, independent consultant
         Iris Eytan, Eytan Nielsen LLC
         Ron Hale, Superintendent, CMHIP
         Dr. Patrick Fox, Chief Medical Officer, CDHS
         Anthony Gherardini, Deputy Executive Director of Operations, CDHS




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Attachment A
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Attachment B
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                        EXHIBIT %
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                   Robert Werthwein, Ph.D., Director, Office of Behavioral Health


 December 22, 2017

 Disability Law Colorado
 Attention: Mark Ivandick
 Attention: Jennifer Purrington
 455 Sherman Street #130
 Denver, CO 80203

 RE: Center for Legal Advocacy d/b/a Disability Law Colorado v. Reggie Bicha, in his official capacity as
 Executive Director of the Colorado Department of Human Services and Ron Hale, in his official capacity as
 Superintendent of the Colorado Mental Health Institute at Pueblo, Case No. 11cv-02285-BNB (D. Col.)

 SUBJECT: Notice of Invocation of Departmental Special Circumstances

 Dear Mr. Ivandick and Ms. Purrington:

 The Colorado Department of Human Services (the Department) hereby provides notice that it is invoking
 Departmental Special Circumstances (DSC) in the above referenced case. The Department has received
 your counsel’s correspondence dated December 22, 2017, alleging that the current term of DSC expires
 today and the Department is in breach of the Amended and Restated Settlement Agreement
 (Agreement). The Department respectfully disagrees. See Agreement at ¶ 6(c).

 The Department is invoking DSC pursuant to paragraph 6(a)(ii) of the Amended and Restated Settlement
 Agreement (Agreement). As agreed upon by the parties and stated in the Agreement, Departmental
 Special Circumstances means “circumstances beyond the control of the Department which impact the
 Department’s ability to comply with the timeframes set forth in [the Agreement]. This could mean an
 unanticipated spike in referrals, a national or statewide disaster impacting admissions decisions system
 wide. These examples are provided for illustration only. Departmental Special Circumstances is a flexible
 concept, due to the unique and often unforeseen nature of these events.” See Agreement at ¶ 6(a)(ii).

 Basis for Invoking Departmental Special Circumstances

 Currently, the volume of court orders for inpatient competency evaluation or restoration treatment is
 outpacing Department capacity at an unabating rate, which is a circumstance beyond the Department’s
 control. The Department is mobilizing a multi-faceted strategy to leverage more resources and engage a
 diverse group of stakeholders, and continues to admit pretrial detainees as capacity allows. However, the
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 Department cannot single-handedly curb the inflow of court orders. As such, and in accordance with the
 Agreement, the Department is invoking DSC.

 In May and June 2017, the Department experienced an unanticipated spike in the number of court orders
 for inpatient competency evaluation and restoration treatment services, at the same time that it
 experienced a decrease in the number of discharges. As soon as the Department identified the spike in
 court orders, in June 2017, the Department took steps to request the allocation of additional state
 resources through the emergency supplemental budget process to manage the unanticipated increase in
 court orders. At the time, the Department did not know that the increase in June represented a new
 normal in the number of court orders, as opposed to a temporary anomaly.

 Since then, the courts have continued to order pretrial detainees for inpatient restoration services at the
 same elevated level. Had the number of court orders for inpatient restoration services returned to the
 rate of growth seen prior to May 2017, the Department had sufficient resources to resume offering
 admission to pretrial detainees within the timeframes required by the Agreement. However, the rate of
 growth did not decline, and instead has remained at an elevated level. The unabated increase in
 restoration orders, which take significantly longer to complete than competency evaluations,1 has
 reduced the number of beds available to accommodate new competency evaluation and restoration
 orders. Data reflecting the sustained increase in inpatient restoration orders is attached. See Attachment
 A – Competency and Restoration Referrals YTD.

 In summary, the sustained increase in the number of court orders for inpatient competency restoration
 treatment has outpaced the Department’s capacity and is beyond its control. The Department has
 conferred with Dr. Joel Dvoskin, the Independent Consultant on this case, concerning this invocation of
 DSC. Dr. Dvoskin agrees with the Department’s basis for invoking DSC. However, he is interested in
 working with DLC and the Department to explore further the plan to remedy DSC laid out below, to assess
 whether the plan is complete or if there are additional options that both the Department and DLC can
 pursue.

 Plan to Remedy Departmental Special Circumstances

 Over the past six months, the Department has worked diligently and creatively to devise and implement
 strategies to enable it to timely offer admission to pretrial detainees for competency evaluations and
 restoration treatment. In light of the sustained increase in the number of court orders for inpatient
 restoration treatment, the Department has identified multiple additional options, which together the
 Department believes will ultimately allow it to keep pace with the orders for inpatient competency
 restoration treatment.



 1
  The average length of stay for a pretrial detainee receiving restoration treatment at the Colorado Mental
 Health Institute at Pueblo (CMHIP) in FY2016-17 was 141.2 days (compared to 38.9 days for a competency
 evaluation). This results in fewer beds available to meet the demand caused by inpatient orders.

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 Resource Development and Legislative Proposals

 During the 2017 legislative session, the Department introduced a bill to increase the availability of
 outpatient restoration services. The proposal designated the Office of Behavioral Health as the state
 entity responsible for the oversight of restoration education and coordination of clinical services to
 restore defendants to competency in the community. By designating a specific state entity for oversight of
 community restoration and providing funding to deliver restoration services, the Department believed
 that the courts would order a greater number of individuals to receive outpatient restoration, instead of
 inpatient competency restoration, as is currently the practice. Although the bill passed, the General
 Assembly struck the funding to provide outpatient competency restoration services. In late September
 2017, the Department submitted an emergency supplemental to the Joint Budget Committee (JBC),
 requesting additional funding in part to address challenges meeting the Agreement timeframes.
 Consequently, the JBC approved $479,711 in FY2017-18 and $1,177,767 annually, so that the Department
 could begin providing outpatient competency restoration services sooner. The Department is currently
 procuring a vendor to provide statewide outpatient competency restoration services, and anticipates that
 the system will be operational by May 2018. Until then, the Department is contracting with vendors
 through single case agreements to provide outpatient competency restoration services on a case-by-case
 basis, and has set aside some of the FY2017-18 appropriation to accomplish this.

 Additionally, as a result of the FY2017-18 Figure Setting in March 2017, CMHIP received $0.9 million as of
 July 1, 2017 and $1.2 million ongoing, to move adolescent patients at CMHIP from their current unit to
 the Sol Vista building, which is better designed to meet their needs (the Circle Program formerly occupied
 the Sol Vista building). Because of the move, the hospital’s forensic capacity will be increased by an
 additional 20 beds. The Department expects that the additional 20 beds will be available for use by March
 2018.

 The Department also requested emergency supplemental funds in September 2017. The approved funds
 are documented in the JBC’s Interim Supplemental Budget Requests FY 2017-18 for the Department of
 Human Services (Office of Behavioral Health). Those funds include, in relevant part, the following:

         ● Expansion of CMHIP Forensic Unit: The FY2017-18 Long Bill includes $5.4 million in
             capital construction funding to add 24 beds in the CMHIP high security forensic
             facility (designated as the L2 unit). These beds are designed to serve patients with
             high acuity and security needs, and are anticipated to become operational in
             FY2020-21.

         ● Law Enforcement Assisted Diversion (LEAD) pilot programs: The FY2017-18 Long Bill
             includes $2.6 million to support four LEAD pilot programs. LEAD is an evidence-
             based pre-booking diversion program that offers low-level drug offenders case
             management and other supportive services as an alternative to jail and prosecution.

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             Program participants are assessed and then receive ongoing case management
             services, are connected with existing resources in the community (e.g., legal
             advocacy, job training or placement, housing assistance, counseling).

         ● Mental Health Services for Juvenile and Adult Offenders: The FY2017-18 Long Bill
             includes an increase of $2.4 million to allow community mental health center staff
             in every region to provide case management and treatment services, wrap-around
             services, and medications (that are not covered by Medicaid) for juvenile and adult
             offenders who have mental health problems.

         ● Senate Bill 17-019 (Behavioral Health Medication for Persons in the Criminal Justice
             System): This act seeks to improve medication consistency for individuals in the
             criminal justice system by authorizing the establishment of a medication formulary,
             cooperative purchasing of medication, and the sharing of patient-specific mental
             health care and treatment information.

         ● Senate Bill 17-021 (Assistance to Persons with Mental Illness in the Criminal Justice
             System): The act establishes a housing program for persons with a behavioral or
             mental health disorder transitioning from the criminal justice system. The FY2017-
             18 Long Bill includes $15.3 million for supportive housing initiatives, including $4.0
             million to support the development of housing units with intensive support services
             (called permanent supportive housing) for behavioral health consumers, including
             those exiting or at risk of entering hospitals or state mental health institutes, and
             $11.3 million for other permanent supportive housing and rapid rehousing
             initiatives.

         ● Senate Bill 17-207 (Strengthen Behavioral Health Crisis Response System): Effective
             May 1, 2018, this act eliminates the use of the criminal justice system to hold
             individuals who are experiencing a mental health crisis. The act also makes a
             number of changes to enhance the State's coordinated behavioral health crisis
             response system, including the addition of $7.1 million for FY2017-18 to:
             o support local partnerships between law enforcement and behavioral health
                 agencies;
             o to improve regional coordination for the provision of 24-7 crisis services; and
             o to expand behavioral health crisis response system services in rural areas.

 In September 2017, the Legislature also approved $1.9 million in FY2017-18 to expand jail-based
 competency evaluation and restoration services in the RISE (Restoring Individuals Safely and Effectively)
 program by an additional 28 beds. Funding for the initial four beds became available immediately, and
 funding for the remaining 24 beds will be available in January 2018. The initial four beds have been
 operational since late October 2017, and the remaining 24 beds are expected to be operational by March
 2018, to allow time for required renovations to the space within the facility. The Department is
 continually evaluating whether it will be necessary to make additional requests for supplemental funding
 in January 2018.




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 On November 1, 2017, the Governor released the State’s FY2018-19 Budget. The budget contains a
 request from the Department for new funding, which includes the following:

         ●   $7.4 million and 3.3 FTE to create an additional 62-bed jail-based competency evaluation and
             restoration program;

         ●   $1.1 million and 11 FTE for additional psychologists (8) and administrative support (3) at
             CMHIP to conduct competency evaluations;

         ●   $3.4 million and 3 FTE to allow the Department to enter into contracts, which the Department
             believes is the first of their kind nationally, with private/non-profit hospitals within the
             Denver metro area. This appropriation will enable the Department to pay for 10 non-state
             hospital beds to further expand the state’s inpatient bed capacity; and

         ●   $11.8 million to complete Phase IIa of the Department’s Facility Modernization Plan for the
             Colorado Mental Health Institute at Fort Logan. This funding will enable the Department to
             complete the design phase for replacement of the existing facility. The Site Master Plan and
             Facility Program Plan call for an increase in the facility’s bed capacity from 94 beds to 244
             beds. The Department will use the additional 150 beds to serve both civil and forensic
             patients. Once Phase IIa is completed, the next phase (Phase III) of the project will be facility
             construction. The date of completion of the project is contingent on funding of Phases IIa and
             Phase III.

 The Department is also proposing several legislative changes as part of the solution. For instance, the
 Department has received a number of court orders for inpatient competency restoration for pretrial
 detainees who do not require a hospital level of care. The Department has drafted proposed bills that
 would require the courts to order restoration in the most appropriate setting, similar to HB16-1410. The
 Department is also proposing statutory language that would limit when the court may order inpatient
 competency restoration for pretrial detainees who are not eligible for release from custody. Finally, the
 Department has also proposed a statutorily created pilot program that would enable a specific number of
 jails to petition the probate court for authority to administer involuntary medications.

 Partnerships and Collaboration

 Department representatives participate on the Commission for Criminal and Juvenile Justice’s (CCJJ)
 Mental Health/Point of Contact Through Jail Release Task Force (the Task Force). Task Force members
 also include representatives from the State Public Defender’s Office, the Colorado District Attorneys’
 Council, Sheriffs, the Department of Probation, the Department of Parole, the Colorado Jail Association,
 and others. The Task Force was instrumental in crafting SB17-207, involving pre-arrest jail deflection,
 which ultimately became law. The CCJJ recently approved the second area of focus for the Task Force;
 specifically, expansion and enhancement of the use of pre-filing and arraignment jail diversion. Through
 participation on the Task Force, the Department strongly supports and advocates for the allocation of

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 resources to provide for pre-arrest and pre-arraignment jail diversion, as these upstream interventions
 reduce incarceration rates for persons with mental health disorders, which in turn reduces the number of
 competency to proceed evaluation orders. In addition, the Department suggested that the JBC request a
 multi-systemic interim committee or task force representing each branch of government to make
 systemic improvements in anticipation of the forecasted rate of referrals.

 The Department also continues to work collaboratively with the State Court Administrator’s Office within
 State Judicial to ensure that inpatient competency evaluation orders comply with § 16-8.5-105, C.R.S. This
 includes efforts such as educating individual courts, defense attorneys, and prosecutors on the current
 criteria for inpatient competency evaluations. The Department’s Court Services staff also contact clerks to
 request that evaluations be ordered to occur outpatient, in cases where pretrial detainees with low-level
 charges have been ordered inpatient. Because the Department has seen an increase in these type of
 orders, these requests help ensure that inpatient beds are utilized for the most ill pretrial detainees and
 that services are being provided in the most appropriate setting.

 County sheriffs have compounded issues arising from the overall demand on the Department’s inpatient
 system. Despite court orders requiring transport within 72-hours after a pretrial detainee is ready to
 return to the jail, county sheriffs routinely delay in transporting pretrial detainees. In some cases, the
 delays are longer than a week, and delays in discharge result in under-utilization of inpatient beds. CMHIP
 staff continues to work with sheriffs’ offices to address this issue.

 Additionally, the lack of adequate treatment in jails across the state is a significant contributor to the
 decompensation of pretrial detainees. This decompensation can trigger an order for a competency
 evaluation, which could be avoided if the pretrial detainee were receiving adequate treatment in the jail.
 Pretrial detainees who are found incompetent to proceed because they decompensate in jail then add to
 the number of inpatient restoration treatment orders. Pretrial detainees also decompensate upon return
 to the jail after being restored to competency by CMHIP, due to the same lack of adequate mental health
 treatment in the jail. Department staff are working with the Task Force to explore ways to improve the
 adequacy of mental health care provided in the state’s jails, with the goal of reducing the number of
 competency evaluation orders and subsequent competency restoration orders that are necessary.

 Ultimately, while the Department is part of the system responsible for ensuring that individuals receive
 timely competency evaluations and restoration services, all three branches of government and non-
 government stakeholders such as DLC, must work collaboratively to address the systemic issues
 underlying the mental health crisis. The Department is committed to continuing its work and welcomes
 strengthened and strategic collaboration across stakeholder groups.

 Projected Timeframe for Resolution

 Pursuant to Paragraph 6(c) of the Agreement, DSC commences on December 22, 2017,
 contemporaneously with the transmission of this Notice of Departmental Special Circumstances. As a
 result, the timeframe requirements of the Agreement are automatically suspended through June 22,

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 2018. See Agreement at ¶ 6(c). As the plan to remedy DSC moves forward, the Department will
 continually assess the timeframe for resolution. The Department will update DLC as more information
 becomes available, in addition to providing the regular updates agreed upon by the parties concerning the
 multi-faceted strategies outlined above.

 The Department has complied with the Agreement in good faith and will continue to do so. The
 Department looks forward to conferring with you and Dr. Dvoskin to review the reasons for invocation of
 DSC, to resolve questions you may have about the circumstances that triggered this Notice, and to explore
 any additional suggestions you may have concerning options to remedy the circumstances forming the
 basis for DSC. Thank you for your attention to this matter.

 Sincerely,




 Dr. Robert Werthwein
 Director, Office of Behavioral Health

 cc:     Dr. Joel Dvoskin, Independent Consultant
         Iris Eytan, Eytan Nielsen LLC
         Dr. Patrick Fox, Chief Medical Officer, CDHS
         Anthony Gherardini, Deputy Executive Director of Operations, CDHS




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                                       Joel A. Dvoskin, Ph.D., ABPP (Forensic)
                                                                           Phone: 520-577-3051
                                                                              Cell: 520-906-0366
                                                                        E-Mail: joelthed@aol.com

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                      Robert Werthwein, PhD, Director, OBH
                      Jill Marshall, Chief Executive Officer, CMHIP

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    Colorado Mental Health Institute at Pueblo, 1600 West 24th Street, Pueblo, CO 81003 P 719.546.4000 F 719.546.4484
                                                                                             www.colorado.gov/cdhs
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          .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6

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            7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO
            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
           /DXUHQ3HDFK$VVLVWDQW$WWRUQH\*HQHUDO
           'U-RHO'YRVNLQ,QGHSHQGHQW&RQVXOWDQW
            0DUN,YDQGLFN'LVDELOLW\/DZ&RORUDGR
            -HQQLIHU3XUULQJWRQ'LVDELOLW\/DZ&RORUDGR
            ,ULV(\WDQ(\WDQ1LHOVHQ//&
            &DOHE'XUOLQJ5ROOLQ%UDVZHOO)LVKHU//&
            (OOLH/RFNZRRG6QHOO	:LOPHU//3




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                      Robert Werthwein, PhD, Director, OBH
                      Jill Marshall, Chief Executive Officer, CMHIP

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  7KH+RQRUDEOH'HQQLV+DOO
  -HIIHUVRQ&RXQW\'LVWULFW&RXUW'LYLVLRQ(
  VW-XGLFLDO'LVWULFW
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  7KH&RORUDGR'HSDUWPHQWRI+XPDQ6HUYLFHV'HSDUWPHQWUHVSHFWIXOO\UHTXHVWVWKDW\RXFRQYHUW
  WKH-DQXDU\RUGHUFRPPLWWLQJ$XVWLQ+DZNHVWRWKH'HSDUWPHQWIRULQSDWLHQWUHVWRUDWLRQ
  VHUYLFHV DW WKH&RORUDGR0HQWDO+HDOWK ,QVWLWXWH DW 3XHEOR &0+,3WRDQRUGHUDOORZLQJ 0U
  +DZNHVWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  %DVHGRQRXUXQGHUVWDQGLQJRI0U+DZNHV¶VFDVHKHLVFXUUHQWO\LQFXVWRG\EHFDXVHRIDQDOOHJHG
  SUREDWLRQYLRODWLRQUHODWHGWRKLVXQGHUO\LQJFRQYLFWLRQRI)HORQ\0HQDFLQJ)DQG$VVDXOW
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  KDVDOUHDG\EHHQLQFXVWRG\IRUDSSUR[LPDWHO\GD\V
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
  UHVWRUDWLRQVHUYLFHV
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U +DZNHV PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  +DZNHVGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
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  SURYLGHGWR0U+DZNHVWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,QWKH
  SUHVHQW FDVH LW LV XQOLNHO\ WKDW 0U +DZNHV ZLOO EH DGPLWWHG IRU LQSDWLHQW UHVWRUDWLRQ VHUYLFHV
  EHIRUH0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQ
  VHUYLFHV HYHQ EHJLQ 7KLV WLPH ZDLWLQJ IRU UHVWRUDWLRQ VHUYLFHV WR EHJLQ DQG EH FRQGXFWHG PD\
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  ,IWKLV&RXUWFRQYHUWVWKHRUGHUWRUHTXLUHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQVWHDGRILQSDWLHQWWKRVH
  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  +DZNHV7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR 0U+DZNHV¶VRYHUDOOPHQWDODQGSK\VLFDO
  KHDOWKWKRVH FRQFHUQVFRXOG DOVR EHDGGUHVVHGLQ WKHFRPPXQLW\ZKHUHWKHUHDUHPRUH UREXVW
  WUHDWPHQW RSWLRQV )RU LQVWDQFH LI 0U +DZNHV LV D 0HGLFDLG UHFLSLHQW KH LV HQWLWOHG WR DOO
  PHGLFDOO\QHFHVVDU\FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\
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  $GGLWLRQDOO\ZKLOHWKH'HSDUWPHQWGRHVQRWKDYHDQLQWHUHVWLQWKHFULPLQDOFDVHLIWKHFKDUJHV
  ZHUHWREHGLVPLVVHGLQ0U+DZNHV¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVVVHUYLFHVLQWKHFRPPXQLW\)XUWKHUWKHVHUYLFHVPD\EHPRUHHIIHFWLYHLIWKH\IRFXVVROHO\
  RQFOLQLFDOQHHGDVRSSRVHGWRUHVWRUDWLRQRIFRPSHWHQF\0U+DZNHV¶VPHQWDOKHDOWKGLVRUGHU
  PD\UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
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            7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO
            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
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  7KH+RQRUDEOH+DUROG'6DUJHQW
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  RIDOOHJHG2EVWUXFWLQJD3HDFH2IILFHU0&RQWUROOHG6XEVWDQFH3RVVHVVLRQ')9LRODWLRQ
  RID3URWHFWLRQ2UGHU&ULPLQDO0LQWKHDERYHUHIHUHQFHGFDVHV+HZDVDUUHVWHGDQGWDNHQLQWR
  FXVWRG\ RQ )HEUXDU\   DV D UHVXOW LW DSSHDUV WKDW KH KDV DOUHDG\ EHHQ LQFXVWRG\ IRU
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
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  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
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  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U+DZNHVWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,QWKH
  SUHVHQW FDVH LW LV XQOLNHO\ WKDW 0U +DZNHV ZLOO EH DGPLWWHG IRU LQSDWLHQW UHVWRUDWLRQ VHUYLFHV
  EHIRUH0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQ
  VHUYLFHV HYHQ EHJLQ 7KLV WLPH ZDLWLQJ IRU UHVWRUDWLRQ VHUYLFHV WR EHJLQ DQG EH FRQGXFWHG PD\
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  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  +DZNHV7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR 0U+DZNHV¶VRYHUDOOPHQWDODQGSK\VLFDO
  KHDOWKWKRVH FRQFHUQVFRXOG DOVR EHDGGUHVVHGLQ WKHFRPPXQLW\ZKHUHWKHUHDUHPRUH UREXVW
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  EDVHGPHQWDOKHDOWKDQGVXEVWDQFHXVHGLVRUGHUWUHDWPHQWDQGLQSDWLHQWKRVSLWDOL]DWLRQ
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  $GGLWLRQDOO\ZKLOHWKH'HSDUWPHQWGRHVQRWKDYHDQLQWHUHVWLQWKHFULPLQDOFDVHLIWKHFKDUJHV
  ZHUHWREHGLVPLVVHGLQ0U+DZNHV¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVVVHUYLFHVLQWKHFRPPXQLW\)XUWKHUWKHVHUYLFHVPD\EHPRUHHIIHFWLYHLIWKH\IRFXVVROHO\
  RQFOLQLFDOQHHGDVRSSRVHGWRUHVWRUDWLRQRIFRPSHWHQF\0U+DZNHV¶VPHQWDOKHDOWKGLVRUGHU
  PD\UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
  WKH SDUWLHV PD\ KDYH FRQFHUQLQJ WKLV  ,I \RX KDYH VSHFLILF TXHVWLRQV SOHDVH FRQWDFW 'DQLHOOH
  :HLWWHQKLOOHU3V\''LUHFWRURI)RUHQVLF6HUYLFHVDWGDQLHOOHZHLWWHQKLOOHU#VWDWHFRXVRUDW
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           &RORUDGR6WDWH3XEOLF'HIHQGHU'RXJ:LOVRQ
           'LVWULFW$WWRUQH\3HWH:HLU
           $QWKRQ\*KHUDUGLQL'HSXW\([HFXWLYH'LUHFWRURI2SHUDWLRQV&'+6
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           .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6
            7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO
            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
           /DXUHQ3HDFK$VVLVWDQW$WWRUQH\*HQHUDO
           'U-RHO'YRVNLQ,QGHSHQGHQW&RQVXOWDQW
            0DUN,YDQGLFN'LVDELOLW\/DZ&RORUDGR
            -HQQLIHU3XUULQJWRQ'LVDELOLW\/DZ&RORUDGR
            ,ULV(\WDQ(\WDQ1LHOVHQ//&
            &DOHE'XUOLQJ5ROOLQ%UDVZHOO)LVKHU//&
            (OOLH/RFNZRRG6QHOO	:LOPHU//3




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                      Jill Marshall, Chief Executive Officer, CMHIP

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  7KH+RQRUDEOH3DXO$.LQJ
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  7KH&RORUDGR'HSDUWPHQWRI+XPDQ6HUYLFHV'HSDUWPHQWUHVSHFWIXOO\UHTXHVWVWKDW\RXFRQYHUW
  WKH)HEUXDU\RUGHUFRPPLWWLQJ%HQLWR0DUFHOLKR9LORULDWRWKH'HSDUWPHQWIRULQSDWLHQW
  UHVWRUDWLRQ VHUYLFHV DW WKH &RORUDGR 0HQWDO +HDOWK ,QVWLWXWH DW 3XHEOR &0+,3 WR DQ RUGHU
  DOORZLQJ0U9LORULDWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  %DVHGRQRXUXQGHUVWDQGLQJRI0U9LORULD¶VFDVHKHLVFXUUHQWO\LQFXVWRG\EHFDXVHRIFKDUJHVRI
  DOOHJHGSUREDWLRQYLRODWLRQUHODWHGWRKLVXQGHUO\LQJFRQYLFWLRQRI$VVDXOW±,Q&XVWRG\3HDFH
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  WKDWKHKDVDOUHDG\EHHQLQFXVWRG\IRUDSSUR[LPDWHO\GD\V
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
  UHVWRUDWLRQVHUYLFHV
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U 9LORULD PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  9LORULDGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U9LORULDWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQGDQG
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  LWLVXQOLNHO\WKDW0U9LORULDZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHVEHIRUH0D\
  &RQVHTXHQWO\ KH ZLOO OLNHO\ EH LQFXVWRG\ IRU RYHU  GD\V EHIRUH UHVWRUDWLRQ VHUYLFHV HYHQ
  EHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\PHHW
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  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  9LORULD7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR0U9LORULD¶VRYHUDOOPHQWDODQGSK\VLFDOKHDOWK
  WKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUHUREXVWWUHDWPHQW
  RSWLRQV)RULQVWDQFHLI0U9LORULDLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOOPHGLFDOO\QHFHVVDU\
  FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\EDVHGPHQWDOKHDOWK
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  UHVWRUDWLRQ VHUYLFHV DW WKH &RORUDGR 0HQWDO +HDOWK ,QVWLWXWH DW 3XHEOR &0+,3 WR DQ RUGHU
  DOORZLQJ0U9LORULDWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  %DVHGRQRXUXQGHUVWDQGLQJRI0U9LORULD¶VFDVHKHLVFXUUHQWO\LQFXVWRG\EHFDXVHRIFKDUJHVRI
  DOOHJHGFKDUJHRI9LRODWLRQRID3URWHFWLRQ2UGHU&ULPLQDO0+HZDVDUUHVWHGDQGWDNHQLQWR
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U 9LORULD PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  9LORULDGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
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  &RQVHTXHQWO\ KH ZLOO OLNHO\ EH LQFXVWRG\ IRU RYHU  GD\V EHIRUH UHVWRUDWLRQ VHUYLFHV HYHQ
  EHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\PHHW
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  ,IWKLV&RXUWFRQYHUWVWKHRUGHUWRUHTXLUHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQVWHDGRILQSDWLHQWWKRVH
  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  9LORULD7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR0U9LORULD¶VRYHUDOOPHQWDODQGSK\VLFDOKHDOWK
  WKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUHUREXVWWUHDWPHQW
  RSWLRQV)RULQVWDQFHLI0U9LORULDLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOOPHGLFDOO\QHFHVVDU\
  FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\EDVHGPHQWDOKHDOWK
  DQGVXEVWDQFHXVHGLVRUGHUWUHDWPHQWDQGLQSDWLHQWKRVSLWDOL]DWLRQ
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  $GGLWLRQDOO\ZKLOHWKH'HSDUWPHQWGRHVQRWKDYHDQLQWHUHVWLQWKHFULPLQDOFDVHLIWKHFKDUJHV
  ZHUHWREHGLVPLVVHGLQ0U9LORULD¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVVVHUYLFHVLQWKHFRPPXQLW\)XUWKHUWKHVHUYLFHVPD\EHPRUHHIIHFWLYHLIWKH\IRFXVVROHO\
  RQFOLQLFDOQHHGDVRSSRVHGWRUHVWRUDWLRQRIFRPSHWHQF\0U9LORULD¶VPHQWDOKHDOWKGLVRUGHUPD\
  UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
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           7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO

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            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
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                      Jill Marshall, Chief Executive Officer, CMHIP

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  WKH)HEUXDU\RUGHUFRPPLWWLQJ3UHVWRQ3RZHOOWRWKH'HSDUWPHQWIRULQSDWLHQWUHVWRUDWLRQ
  VHUYLFHV DW WKH&RORUDGR0HQWDO+HDOWK ,QVWLWXWH DW 3XHEOR &0+,3WRDQRUGHUDOORZLQJ 0U
  3RZHOOWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  RIDOOHJHG7UHVSDVV0+HZDVDUUHVWHGDQGWDNHQLQWRFXVWRG\RQ$XJXVWDVDUHVXOW
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
  UHVWRUDWLRQVHUYLFHV
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  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  3RZHOOGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U3RZHOOWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
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  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,QWKH
  SUHVHQWFDVHLWLVXQOLNHO\WKDW0U3RZHOOZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHVEHIRUH
  0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQVHUYLFHV
  HYHQEHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\
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  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
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  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
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  WKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUHUREXVWWUHDWPHQW
  RSWLRQV)RULQVWDQFHLI0U3RZHOOLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOOPHGLFDOO\QHFHVVDU\
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  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
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                      Jill Marshall, Chief Executive Officer, CMHIP

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  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
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  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U 3RZHOO PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  3RZHOOGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U3RZHOOWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
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  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,QWKH
  SUHVHQWFDVHLWLVXQOLNHO\WKDW0U3RZHOOZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHVEHIRUH
  0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQVHUYLFHV
  HYHQEHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\
  PHHWRUH[FHHGWKHPD[LPXPOHQJWKRI0U3RZHOO¶VVHQWHQFH
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  ,IWKLV&RXUWFRQYHUWVWKHRUGHUWRUHTXLUHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQVWHDGRILQSDWLHQWWKRVH
  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  3RZHOO7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR0U3RZHOO¶VRYHUDOOPHQWDODQGSK\VLFDOKHDOWK
  WKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUHUREXVWWUHDWPHQW
  RSWLRQV)RULQVWDQFHLI0U3RZHOOLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOOPHGLFDOO\QHFHVVDU\
  FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\EDVHGPHQWDOKHDOWK
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  ZHUHWREHGLVPLVVHGLQ0U3RZHOO¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVVVHUYLFHVLQWKHFRPPXQLW\)XUWKHUWKHVHUYLFHVPD\EHPRUHHIIHFWLYHLIWKH\IRFXVVROHO\
  RQFOLQLFDOQHHGDVRSSRVHGWRUHVWRUDWLRQRIFRPSHWHQF\0U3RZHOO¶VPHQWDOKHDOWKGLVRUGHUPD\
  UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
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           $QWKRQ\*KHUDUGLQL'HSXW\([HFXWLYH'LUHFWRURI2SHUDWLRQV&'+6
          .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6

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            7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO
            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
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           'U-RHO'YRVNLQ,QGHSHQGHQW&RQVXOWDQW
            0DUN,YDQGLFN'LVDELOLW\/DZ&RORUDGR
            -HQQLIHU3XUULQJWRQ'LVDELOLW\/DZ&RORUDGR
            ,ULV(\WDQ(\WDQ1LHOVHQ//&
            &DOHE'XUOLQJ5ROOLQ%UDVZHOO)LVKHU//&
            (OOLH/RFNZRRG6QHOO	:LOPHU//3




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                      Jill Marshall, Chief Executive Officer, CMHIP

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  WKH -DQXDU\   RUGHU FRPPLWWLQJ &KULVWRSKHU 6]NXWDN WR WKH 'HSDUWPHQW IRU LQSDWLHQW
  UHVWRUDWLRQ VHUYLFHV DW WKH &RORUDGR 0HQWDO +HDOWK ,QVWLWXWH DW 3XHEOR &0+,3 WR DQ RUGHU
  DOORZLQJ0U6]NXWDNWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  FKDUJHV RI DOOHJHG &RQWUROOHG 6XEVWDQFH ± 3RVVHVVLRQ ') RQH FKDUJH RI DOOHJHG )HORQ\
  0HQDFLQJ)RQHFKDUJHRIDOOHJHG&ULPLQDO3RVVHVVLRQRI,''RFXPHQWV±0XOWLSOH9LFWLPV
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  DQGWDNHQLQWRFXVWRG\RQ $XJXVW  DV DUHVXOW LWDSSHDUVWKDW KHKDVDOUHDG\EHHQLQ
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U 6]NXWDN PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  6]NXWDNGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
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  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U6]NXWDNWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
  DQGLWLVXQOLNHO\WKDW0U6]NXWDNZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHVEHIRUH0D\
  &RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQVHUYLFHVHYHQ
  EHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\PHHW
  RUH[FHHGWKHPD[LPXPOHQJWKRI0U6]NXWDN¶VVHQWHQFH
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  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
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  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  6]NXWDN7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR 0U6]NXWDN¶VRYHUDOOPHQWDODQGSK\VLFDO
  KHDOWKWKRVH FRQFHUQVFRXOG DOVR EHDGGUHVVHGLQ WKHFRPPXQLW\ZKHUHWKHUHDUHPRUH UREXVW
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  PHGLFDOO\QHFHVVDU\FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\
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  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
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                      Jill Marshall, Chief Executive Officer, CMHIP

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  %DVHGRQRXUXQGHUVWDQGLQJRI0U:HOOV¶VFDVHKHLVFXUUHQWO\LQFXVWRG\EHFDXVHRIFKDUJHVRI
  DOOHJHG SUREDWLRQ YLRODWLRQ UHODWHG WR KLV XQGHUO\LQJ FRQYLFWLRQ RI $VVDXOW  0 +H ZDV
  DUUHVWHGDQGWDNHQLQWRFXVWRG\RQ1RYHPEHUDVDUHVXOWLWDSSHDUVWKDWKHKDVDOUHDG\
  EHHQLQFXVWRG\IRUDSSUR[LPDWHO\GD\V
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ ZDLWLQJ DQ DYHUDJH RI IRXU PRQWKV EHIRUH EHLQJ DGPLWWHG WR DQ LQSDWLHQW EHG ,Q DQ
  HIIRUW WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO
  KHDOWK GLVRUGHU UHFHLYH WLPHO\ VHUYLFHV WKH 'HSDUWPHQW LV FROODERUDWLQJ ZLWK 'LVDELOLW\ /DZ
  &RORUDGRWRLGHQWLI\GHIHQGDQWVDFURVVWKHVWDWHZKRPD\EHVXLWHGWRUHFHLYHUHVWRUDWLRQVHUYLFHV
  RQ DQ RXWSDWLHQW EDVLV ,QFUHDVLQJ XWLOL]DWLRQ RI RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV ZRXOG EH PRUH
  DSSURSULDWH IRU WKHVH GHIHQGDQWV DQG ZRXOG UHGXFH LI QRW HOLPLQDWH WKH VLJQLILFDQW WLPH
  GHIHQGDQWV ZKR WUXO\ QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\
  ZDLWLQJWRUHFHLYHWKRVHUHVWRUDWLRQVHUYLFHV
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U :HOOV PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  :HOOVGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHG WR 0U :HOOV WKURXJK FRPPXQLW\ KRVSLWDOV 7KLV FRXUW SUHYLRXVO\ JUDQWHG KLP ERQG



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  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,Q
  WKHSUHVHQWFDVHLWLVXQOLNHO\WKDW0U:HOOVZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHV
  EHIRUH0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQ
  VHUYLFHV HYHQ EHJLQ 7KLV WLPH ZDLWLQJ IRU UHVWRUDWLRQ VHUYLFHV WR EHJLQ DQG EH FRQGXFWHG PD\
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  ,I WKLV &RXUW FRQYHUWV WKH RUGHU WR UHTXLUH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV LQVWHDG RI LQSDWLHQW
  WKRVHVHUYLFHVFDQEHJLQRQDQH[SHGLWHGEDVLV:LWKWKHVXSSRUWRIWKH&RORUDGROHJLVODWXUHWKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQ RI WKH RUGHU &0+,3 ZLOO QRWLI\ WKH 'HSDUWPHQW¶V 'LYLVLRQ RI )RUHQVLF 6HUYLFHV
  ZKLFKZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV
  IRU 0U :HOOV 7R WKH H[WHQW WKHUH DUH FRQFHUQV UHODWHG WR 0U :HOOV¶V RYHUDOO PHQWDO DQG
  SK\VLFDOKHDOWKWKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUH
  UREXVWWUHDWPHQWRSWLRQV)RULQVWDQFHLI0U:HOOVLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOO
  PHGLFDOO\ QHFHVVDU\ FOLQLFDO FDUH SXUVXDQW WR WKH 6WDWH 0HGLFDLG 3ODQ ZKLFK LQFOXGHV
  FRPPXQLW\EDVHG PHQWDO KHDOWK DQG VXEVWDQFH XVH GLVRUGHU WUHDWPHQW DQG LQSDWLHQW
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  $GGLWLRQDOO\ZKLOHWKH'HSDUWPHQWGRHVQRWKDYHDQLQWHUHVWLQWKHFULPLQDOFDVHLIWKHFKDUJHV
  ZHUHWREHGLVPLVVHGLQ0U:HOOV¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVV VHUYLFHV LQ WKH FRPPXQLW\ )XUWKHU WKH VHUYLFHV PD\ EH PRUH HIIHFWLYH LI WKH\ IRFXV
  VROHO\ RQ FOLQLFDO QHHG DV RSSRVHG WR UHVWRUDWLRQ RI FRPSHWHQF\ 0U :HOOV¶V PHQWDO KHDOWK
  GLVRUGHUPD\UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
  WKH SDUWLHV PD\ KDYH FRQFHUQLQJ WKLV ,I \RX KDYH VSHFLILF TXHVWLRQV SOHDVH FRQWDFW 'DQLHOOH
  :HLWWHQKLOOHU 3V\' 'LUHFWRU RI )RUHQVLF 6HUYLFHV DW GDQLHOOHZHLWWHQKLOOHU#VWDWHFRXV RU DW
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  'U5REHUW:HUWKZHLQ3K''LUHFWRU2IILFHRI%HKDYLRUDO+HDOWK
  &RORUDGR'HSDUWPHQWRI+XPDQ6HUYLFHV


  FF    &KULV3HQQ\'HSXW\'LVWULFW$WWRUQH\
          &KULVWLQD=RUULOOD'HSXW\3XEOLF'HIHQGHU
          &KLHI-XGJH0LFKDHO$0DUWLQH]
          &RORUDGR6WDWH3XEOLF'HIHQGHU'RXJ:LOVRQ
          'LVWULFW$WWRUQH\%HWK0F&DQQ
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          $QWKRQ\*KHUDUGLQL'HSXW\([HFXWLYH'LUHFWRURI2SHUDWLRQV&'+6




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           .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6
            7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO
            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
            /DXUHQ3HDFK$VVLVWDQW$WWRUQH\*HQHUDO
           'U-RHO'YRVNLQ,QGHSHQGHQW&RQVXOWDQW
            0DUN,YDQGLFN'LVDELOLW\/DZ&RORUDGR
            -HQQLIHU3XUULQJWRQ'LVDELOLW\/DZ&RORUDGR
            ,ULV(\WDQ(\WDQ1LHOVHQ//&
            &DOHE'XUOLQJ5ROOLQ%UDVZHOO)LVKHU//&
            (OOLH/RFNZRRG6QHOO	:LOPHU//3




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                      Robert Werthwein, PhD, Director, OBH
                      Jill Marshall, Chief Executive Officer, CMHIP

  $SULO

  7KH+RQRUDEOH0LFKDHO-9DOOHMRV
  QG-XGLFLDO'LVWULFW'LYLVLRQ'
  :HVW&ROID[$YHQXH
  'HQYHU&RORUDGR

  5(             'HIHQGDQW-XVWLQ%DUQHV
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  'HDU-XGJH9DOOHMRV

  7KH &RORUDGR 'HSDUWPHQW RI +XPDQ 6HUYLFHV 'HSDUWPHQW UHVSHFWIXOO\ UHTXHVWV WKDW \RX
  FRQYHUW WKH )HEUXDU\   RUGHU FRPPLWWLQJ -XVWLQ %DUQHV WR WKH 'HSDUWPHQW IRU LQSDWLHQW
  UHVWRUDWLRQ VHUYLFHV DW WKH &RORUDGR 0HQWDO +HDOWK ,QVWLWXWH DW 3XHEOR &0+,3 WR DQ RUGHU
  DOORZLQJ0U%DUQHVWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  %DVHG RQ RXU XQGHUVWDQGLQJ RI 0U %DUQHV¶V FDVH KH LV FXUUHQWO\ LQFXVWRG\ EHFDXVH RI WKUHH
  FRXQWV RI DOOHJHG $VVDXOW  ± 3HDFH 2IILFHU ) DQG WKUHH FRXQWV RI DOOHJHG $VVDXOW  ± ,Q
  &XVWRG\3HDFH2IILFHU)+HZDVDUUHVWHGDQGWDNHQLQWRFXVWRG\RQ'HFHPEHUDVD
  UHVXOWLWDSSHDUVWKDWKHKDVDOUHDG\EHHQLQFXVWRG\IRUDSSUR[LPDWHO\GD\V
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ ZDLWLQJ DQ DYHUDJH RI IRXU PRQWKV EHIRUH EHLQJ DGPLWWHG WR DQ LQSDWLHQW EHG ,Q DQ
  HIIRUW WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO
  KHDOWK GLVRUGHU UHFHLYH WLPHO\ VHUYLFHV WKH 'HSDUWPHQW LV FROODERUDWLQJ ZLWK 'LVDELOLW\ /DZ
  &RORUDGRWRLGHQWLI\GHIHQGDQWVDFURVVWKHVWDWHZKRPD\EHVXLWHGWRUHFHLYHUHVWRUDWLRQVHUYLFHV
  RQ DQ RXWSDWLHQW EDVLV ,QFUHDVLQJ XWLOL]DWLRQ RI RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV ZRXOG EH PRUH
  DSSURSULDWH IRU WKHVH GHIHQGDQWV DQG ZRXOG UHGXFH LI QRW HOLPLQDWH WKH VLJQLILFDQW WLPH
  GHIHQGDQWV ZKR WUXO\ QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\
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  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  %DUQHVGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U%DUQHVWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG



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  WKHSUHVHQWFDVHLWLVXQOLNHO\WKDW0U%DUQHVZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHV
  EHIRUH0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQ
  VHUYLFHV HYHQ EHJLQ 7KLV WLPH ZDLWLQJ IRU UHVWRUDWLRQ VHUYLFHV WR EHJLQ DQG EH FRQGXFWHG PD\
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  WKRVHVHUYLFHVFDQEHJLQRQDQH[SHGLWHGEDVLV:LWKWKHVXSSRUWRIWKH&RORUDGROHJLVODWXUHWKH
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  ZKLFKZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV
  IRU 0U %DUQHV 7R WKH H[WHQW WKHUH DUH FRQFHUQV UHODWHG WR 0U %DUQHV¶V RYHUDOO PHQWDO DQG
  SK\VLFDOKHDOWKWKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUH
  UREXVWWUHDWPHQWRSWLRQV)RULQVWDQFHLI0U%DUQHVLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOO
  PHGLFDOO\ QHFHVVDU\ FOLQLFDO FDUH SXUVXDQW WR WKH 6WDWH 0HGLFDLG 3ODQ ZKLFK LQFOXGHV
  FRPPXQLW\EDVHG PHQWDO KHDOWK DQG VXEVWDQFH XVH GLVRUGHU WUHDWPHQW DQG LQSDWLHQW
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  ZHUH WR EH GLVPLVVHG LQ 0U %DUQHV¶V FXUUHQW FDVH LW PD\ EH HDVLHU IRU KLP WR DFFHVV PHQWDO
  KHDOWK VHUYLFHV LQ WKH FRPPXQLW\ 2SHQ FULPLQDO FKDUJHV FDQ SRVH D EDUULHU WR LQGLYLGXDOV
  DWWHPSWLQJ WR DFFHVV VHUYLFHV LQ WKH FRPPXQLW\ )XUWKHUWKHVHUYLFHVPD\EHPRUH HIIHFWLYH LI
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  KHDOWKGLVRUGHUPD\UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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            $QWKRQ\*KHUDUGLQL'HSXW\([HFXWLYH'LUHFWRURI2SHUDWLRQV&'+6
           .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6



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            0DUN,YDQGLFN'LVDELOLW\/DZ&RORUDGR
            -HQQLIHU3XUULQJWRQ'LVDELOLW\/DZ&RORUDGR
            ,ULV(\WDQ(\WDQ1LHOVHQ//&
            &DOHE'XUOLQJ5ROOLQ%UDVZHOO)LVKHU//&
            (OOLH/RFNZRRG6QHOO	:LOPHU//3




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                      Robert Werthwein, PhD, Director, OBH
                      Jill Marshall, Chief Executive Officer, CMHIP

  $SULO
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  7KH+RQRUDEOH.HUUL/RPEDUGL
  'HQYHU&RXQW\&RXUW'LYLVLRQ'
  :HVW&ROID[$YHQXH
  'HQYHU&RORUDGR
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  5(          'HIHQGDQW-XVWLQ%DUQHV
               &ULPLQDO$FWLRQ1R 0
                                  
  'HDU-XGJH/RPEDUGL

  7KH&RORUDGR'HSDUWPHQWRI+XPDQ6HUYLFHV'HSDUWPHQWUHVSHFWIXOO\UHTXHVWVWKDW\RXFRQYHUW
  WKH0DUFKRUGHUFRPPLWWLQJ-XVWLQ%DUQHVWRWKH'HSDUWPHQWIRULQSDWLHQWUHVWRUDWLRQ
  VHUYLFHV DW WKH&RORUDGR0HQWDO+HDOWK ,QVWLWXWH DW 3XHEOR &0+,3WRDQRUGHUDOORZLQJ 0U
  %DUQHVWRUHFHLYHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQWKHFRPPXQLW\
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  %DVHGRQRXUXQGHUVWDQGLQJRI0U%DUQHV¶VFDVHKHLVFXUUHQWO\LQFXVWRG\EHFDXVHRIFKDUJHVRI
  DOOHJHG$VVDXOW±)LUVW5HVSRQGHU0+HZDVDUUHVWHGDQGWDNHQLQWRFXVWRG\RQ'HFHPEHU
  DVDUHVXOWLWDSSHDUVWKDWKHKDVDOUHDG\EHHQLQFXVWRG\IRUDSSUR[LPDWHO\GD\V
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  $V\RXPD\EHDZDUHWKH'HSDUWPHQWKDVEHHQH[SHULHQFLQJDVXVWDLQHGVSLNHLQWKHQXPEHURI
  FRXUWRUGHUVVWDWHZLGHIRULQSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHV7KHQXPEHURIFRXUWRUGHUV
  KDV IDU RXWSDFHG WKH 'HSDUWPHQW¶V DYDLODEOH LQSDWLHQW UHVRXUFHV $V D UHVXOW GHIHQGDQWV DUH
  FXUUHQWO\ZDLWLQJDQDYHUDJHRIIRXUPRQWKVEHIRUHEHLQJDGPLWWHGWRDQLQSDWLHQWEHG,QDQHIIRUW
  WR DGGUHVV WKLV ZLGHVSUHDG V\VWHPLF LVVXH DQG HQVXUH LQGLYLGXDOV OLYLQJ ZLWK D PHQWDO KHDOWK
  GLVRUGHUUHFHLYHWLPHO\VHUYLFHVWKH'HSDUWPHQWLVFROODERUDWLQJZLWK'LVDELOLW\/DZ&RORUDGRWR
  LGHQWLI\ GHIHQGDQWV DFURVV WKH VWDWH ZKR PD\ EH VXLWHG WR UHFHLYH UHVWRUDWLRQ VHUYLFHV RQ DQ
  RXWSDWLHQWEDVLV,QFUHDVLQJXWLOL]DWLRQRIRXWSDWLHQWUHVWRUDWLRQVHUYLFHVZRXOGEHPRUHDSSURSULDWH
  IRUWKHVHGHIHQGDQWVDQGZRXOGUHGXFHLIQRWHOLPLQDWHWKHVLJQLILFDQWWLPHGHIHQGDQWVZKRWUXO\
  QHHG D KLJK VHFXULW\ DQG LQSDWLHQW OHYHO RI FOLQLFDO FDUH DUH FXUUHQWO\ ZDLWLQJ WR UHFHLYH WKRVH
  UHVWRUDWLRQVHUYLFHV
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  $V D UHVXOW RI WKLV FROODERUDWLRQ WKH 'HSDUWPHQW KDV GHWHUPLQHG WKDW 0U %DUQHV PD\ EH DQ
  DSSURSULDWH FDQGLGDWH IRU RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV &0+,3 LV D KLJK VHFXULW\ IRUHQVLF
  IDFLOLW\ QHDUO\ DOO SDWLHQWV WKHUH KDYH EHHQ DGPLWWHG SXUVXDQW WR D FRXUW RUGHU :KLOH KH PD\
  UHTXLUHKRVSLWDOOHYHOFDUHUHODWHGWRKLVPHQWDOKHDOWKGLVRUGHUEDVHGRQKLVFXUUHQWFKDUJHV0U
  %DUQHVGRHVQRWDSSHDUWRUHTXLUHWKHOHYHORIVHFXULW\DVVRFLDWHGZLWKDIRUHQVLFFRPPLWPHQWWR
  &0+,3 ,I LQSDWLHQW PHQWDO KHDOWK VHUYLFHV DUH QHHGHG GXH WR KLV FOLQLFDO DFXLW\ WKRVH FDQ EH
  SURYLGHGWR0U%DUQHVWKURXJKFRPPXQLW\KRVSLWDOV7KLVFRXUWSUHYLRXVO\JUDQWHGKLPERQG
  DQGKLVSDVWFKDUJHVGRQRWDSSHDUWRZDUUDQWFRPPLWPHQWWRDIRUHQVLFKRVSLWDOLQWKLVFDVH,QWKH
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  SUHVHQWFDVHLWLVXQOLNHO\WKDW0U%DUQHVZLOOEHDGPLWWHGIRULQSDWLHQWUHVWRUDWLRQVHUYLFHVEHIRUH
  0D\&RQVHTXHQWO\KHZLOOOLNHO\EHLQFXVWRG\IRURYHUGD\VEHIRUHUHVWRUDWLRQVHUYLFHV
  HYHQEHJLQ7KLVWLPHZDLWLQJIRUUHVWRUDWLRQVHUYLFHVWREHJLQDQGEHFRQGXFWHGPD\XOWLPDWHO\
  PHHWRUH[FHHGWKHPD[LPXPOHQJWKRI0U%DUQHV¶VVHQWHQFH
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  ,IWKLV&RXUWFRQYHUWVWKHRUGHUWRUHTXLUHRXWSDWLHQWUHVWRUDWLRQVHUYLFHVLQVWHDGRILQSDWLHQWWKRVH
  VHUYLFHV FDQ EHJLQ RQ DQ H[SHGLWHG EDVLV :LWK WKH VXSSRUW RI WKH &RORUDGR OHJLVODWXUH WKH
  'HSDUWPHQW KDV GHYHORSHG JURZLQJ UHVRXUFHV WR SURYLGH RXWSDWLHQW UHVWRUDWLRQ VHUYLFHV 8SRQ
  FRQYHUVLRQRIWKHRUGHU&0+,3ZLOOQRWLI\WKH'HSDUWPHQW¶V'LYLVLRQRI)RUHQVLF6HUYLFHVZKLFK
  ZLOOFRRUGLQDWHWKHSURYLVLRQRILQGLYLGXDOL]HGRXWSDWLHQWFRPSHWHQF\UHVWRUDWLRQVHUYLFHVIRU0U
  %DUQHV7RWKHH[WHQWWKHUHDUHFRQFHUQVUHODWHGWR0U%DUQHV¶VRYHUDOOPHQWDODQGSK\VLFDOKHDOWK
  WKRVHFRQFHUQVFRXOGDOVREHDGGUHVVHGLQWKHFRPPXQLW\ZKHUHWKHUHDUHPRUHUREXVWWUHDWPHQW
  RSWLRQV)RULQVWDQFHLI0U%DUQHVLVD0HGLFDLGUHFLSLHQWKHLVHQWLWOHGWRDOOPHGLFDOO\QHFHVVDU\
  FOLQLFDOFDUHSXUVXDQWWRWKH6WDWH0HGLFDLG3ODQZKLFKLQFOXGHVFRPPXQLW\EDVHGPHQWDOKHDOWK
  DQGVXEVWDQFHXVHGLVRUGHUWUHDWPHQWDQGLQSDWLHQWKRVSLWDOL]DWLRQ
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  $GGLWLRQDOO\ZKLOHWKH'HSDUWPHQWGRHVQRWKDYHDQLQWHUHVWLQWKHFULPLQDOFDVHLIWKHFKDUJHV
  ZHUHWREHGLVPLVVHGLQ0U%DUQHV¶VFXUUHQWFDVHLWPD\EHHDVLHUIRUKLPWRDFFHVVPHQWDOKHDOWK
  VHUYLFHVLQWKHFRPPXQLW\2SHQFULPLQDOFKDUJHVFDQSRVHDEDUULHUWRLQGLYLGXDOVDWWHPSWLQJWR
  DFFHVVVHUYLFHVLQWKHFRPPXQLW\)XUWKHUWKHVHUYLFHVPD\EHPRUHHIIHFWLYHLIWKH\IRFXVVROHO\
  RQFOLQLFDOQHHGDVRSSRVHGWRUHVWRUDWLRQRIFRPSHWHQF\0U%DUQHV¶VPHQWDOKHDOWKGLVRUGHUPD\
  UHTXLUHRQJRLQJFOLQLFDOFDUHZHOOEH\RQGWKHOLIHRIWKLVSDUWLFXODUFDVH
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  7KH'HSDUWPHQWDSSUHFLDWHV\RXUFRQVLGHUDWLRQRILWVUHTXHVWDQGZHOFRPHVDQ\TXHVWLRQV\RXRU
  WKH SDUWLHV PD\ KDYH FRQFHUQLQJ WKLV  ,I \RX KDYH VSHFLILF TXHVWLRQV SOHDVH FRQWDFW 'DQLHOOH
  :HLWWHQKLOOHU3V\''LUHFWRURI)RUHQVLF6HUYLFHVDWGDQLHOOHZHLWWHQKLOOHU#VWDWHFRXVRUDW
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          'DYLG5RVHQ'HSXW\3XEOLF'HIHQGHU
           &KLHI-XGJH7KHUHVD6SDKQ
           &RORUDGR6WDWH3XEOLF'HIHQGHU'RXJ:LOVRQ
           'LVWULFW$WWRUQH\%HWK0F&DQQ
           
           $QWKRQ\*KHUDUGLQL'HSXW\([HFXWLYH'LUHFWRURI2SHUDWLRQV&'+6
          .DWLH0F/RXJKOLQ&KLHI/HJDO'LUHFWRU&'+6
           7DQMD(:KHHOHU)LUVW$VVLVWDQW$WWRUQH\*HQHUDO

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            /LEELH0F&DUWK\6HQLRU$VVLVWDQW$WWRUQH\*HQHUDO
           /DXUHQ3HDFK$VVLVWDQW$WWRUQH\*HQHUDO
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